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                       EXHIBIT 7
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                                                                           Review

    1                 UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
    2                          EASTERN DIVISION
    3

            IN RE: NATIONAL
    4       PRESCRIPTION                       MDL No. 2804
            OPIATE LITIGATION
    5                                          Case No.
                                               l:17-MD-2804
    6

            THIS DOCUMENT RELATES              Hon. Dan A.
    7       TO ALL CASES                       Polster
    8

                             FRIDAY, MAY 17, 2019
    9

             HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   10                       CONFIDENTIALITY REVIEW
   11

   12                      Videotaped deposition of Thomas
   13      Prevoznik, Volume III, held at the offices of
   14      WILLIAMS    &    CONNOLLY LLP, 725 Twelfth Street,
   15      NW, Washington, DC, commencing at 8:10 a.m.,
   16      on the above date, before Carrie A. Campbell,
   17      Registered Diplomate Reporter and Certified
   18      Realtime Reporter.
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                                                                           Review

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  Golkow Litigation Services                                            Page 787
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  Golkow Litigation Services                                            Page 790
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     9

           VIDEOGRAPHER:
    10             DAN LAWLOR,
                   Golkow Litigation Services
    11
    12
           TRIAL TECHNICIAN:
    13             JAMES BELL,
                   Golkow Litigation Services
    14


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     1                       VIDEOGRAPHER:       We are now on

     2             the record.       My name is Dan Lawlor.

     3             I'm a videographer with Golkow

     4             Litigation Services.

     5                       Today's date is May 17, 2019,

     6             and the time is 8:10 a.m.

     7                       This video deposition is being

     8             held in Washington, DC, in the matter

     9             of National Prescription Opiate

    10             Litigation, MDL Number 2804.

    11                       The deponent is Thomas

    12             Prevoznik.

    13                       Counsel will be noted on the

   14              stenographic record.

   15                        The court reporter is Carrie

   16              Campbell and will now swear in the

   17              witness.

   18

    19                       THOMAS PREVOZNIK,

    20     of lawful age, having been first duly sworn

    21     to tell the truth, the whole truth and

    22     nothing but the truth, deposes and says on

    23     behalf of the Plaintiffs, as follows:

    24                       (Prevoznik Plaintiff Exhibit

    25             P17 marked for identification.

  Golkow Litigation Services                                             Page 800
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     1                       MR. EPPICH:      Objection.      Form.

     2             Calls for speculation.

     3                       MR. FINKELSTEIN:        Scope.     Calls

     4             for speculation.

     5                       THE WITNESS:      I believe we do.

     6             I believe they do.

     7     QUESTIONS BY MS. SINGER:

     8             Q.        They do?

     9             A.        Yeah.

    10             Q.        And does DEA have that

    11     information?

    12                       MR. EPPICH:      Objection.

    13                       THE WITNESS:      If we subpoena

    14             it.

    15     QUESTIONS BY MS. SINGER:

    16             Q.        Okay.    But not in the regular

    17     course --

    18             A.        No.

    19             Q.        -- of identifying potential

    20     diversion?

    21             A.        Right.
     -
    22             Q.        Now, does ARCOS data tell you

    23     whether a customer is near a hospital or a

    24     cancer center or a hospice treatment

    25     facility?

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     1             A.        No, it's just transactional

     2     data.

     3             Q.        Okay.    But distributors and

     4     manufacturers would learn that information in

     5     their due diligence on customers, correct?

     6                       MR. EPPICH:      Objection.      Form.

     7             Foundation.       Calls for speculation.

     8                       THE WITNESS:      Yes.

     9     QUESTIONS BY MS. SINGER:

    10             Q.        Okay.    And when you get, for

    11     instance, a -- when you, DEA, gets, for

    12     instance, a big stack of ingredient limit

    13     reports, you can't tell from that whether

    14     orders of large numbers are by facilities

    15     that are near hospitals or oncology centers

    16     or anything like that, correct?

    17                       MR. EPPICH:      Object to the

    18             form.

    19                       THE WITNESS:       I'm sorry, could

    20             you repeat it?

    21     QUESTIONS BY MS. SINGER:

    22             Q.        So when you get, you know, a

    23     big stack of excess order reports or

    24     ingredient limit reports, you can't tell if a

    25     large order is from a customer that's near an

  Golkow Litigation Services                                           Page 1039
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     1     a combination.

     2                       And so in the example I

     3     would -- I would say is -- I think I've used

     4     it before was the veterinarian that is

     5     ordering Vicodin with the acetaminophen that

     6     is toxic to cats and dogs.            So that in

     7     itself, an order of that, would be why are

     s     they doing that.

     9             Q.        But standing alone, without

    10     follow-up due diligence, it is not

    11     necessarily always possible to determine

    12     whether an order that is an unusual size,

    13     unusual pattern or frequency is, by itself,

    14     for that reason, indicative of diversion,

    15     correct?

    16                       MR. FINKELSTEIN:        Asked and

    17             answered.      Incomplete hypothetical.

    18                       THE WITNESS:      Correct.

    19     QUESTIONS BY MS. MAINIGI:

    20             Q.        And so some sort of follow-up

    21     due diligence needs to be done by the

    22     distributor or registrant, correct?

    23                       MR. FINKELSTEIN:        Incomplete

    24             hypothetical.       Asked and answered.

    25                       THE WITNESS:       Right.

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     1                            CERTIFICATE
     2
     3                I, CARRIE A. CAMPBELL, Registered
           Diplomate Reporter, Certified Realtime
     4     Reporter and Certified Shorthand Reporter, do
           hereby certify that prior to the commencement
     5     of the examination, Thomas Prevoznik was duly
           sworn by me to testify to the truth, the
     6     whole truth and nothing but the truth.
     7                I DO FURTHER CERTIFY that the
           foregoing is a verbatim transcript of the
     8     testimony as taken stenographically by and
           before me at the time, place and on the date
     9     hereinbefore set forth, to the best of my
           ability.
    10
                      I DO FURTHER CERTIFY that I am
    11     neither a relative nor employee nor attorney
           nor counsel of any of the parties to this
    12     action, and that I am neither a relative nor
           employee of such attorney or counsel, and
    13     that I am not financially interested in the
           action.
    14
    15
    16


    17             CARRIE A. CAMPBELL,
                   NCRA Registered Diplomate Reporter
    18             Certified Realtime Reporter
                   Notary Public
    19
    20             Dated:     May 21, 2019
    21
    22
    23
    24
    25

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